
USCA1 Opinion

	










          March 25, 1996    UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 95-1978

                                  STEPHEN ROSSETTI,

                                Petitioner, Appellee,

                                          v.

                              JOHN J. CURRAN, CHAIRMAN,
                     COMMONWEALTH OF MASSACHUSETTS PAROLE BOARD,

                                Respondent, Appellant.

                                 ____________________

                                     ERRATA SHEET

            The opinion of  this Court, issued  on March 21, 1996,  is amended
        as follows:

            On page  2, line  1, replace  "1991" with  "1981".  On  same page,
        line 2, replace "1992" with "1982".













































                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 95-1978

                                  STEPHEN ROSSETTI,

                                Petitioner, Appellee,

                                          v.

                              JOHN J. CURRAN, CHAIRMAN,
                     COMMONWEALTH OF MASSACHUSETTS PAROLE BOARD,

                                Respondent, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. Nancy J. Gertner, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                               Selya, Boudin and Lynch,

                                   Circuit Judges.
                                   ______________

                                 ____________________

            Elisabeth  J.   Medvedow,  Assistant  Attorney  General,  Criminal
            ________________________
        Bureau, with whom  Scott Harshbarger, Attorney  General, was on  brief
                           _________________
        for respondent.
            Matthew A.  Kamholtz with  whom Matthew  H. Feinberg  and Segal  &amp;
            ____________________            ____________________      ________
        Feinberg were on brief for petitioner.
        ________


                                 ____________________

                                    March 21, 1996
                                 ____________________




















                 BOUDIN, Circuit Judge.   In  1981, Stephen  Rossetti was
                         _____________

            acquitted of armed robbery in  state court.  In 1982,  he was

            convicted in  state court  of conspiracy  to commit  the same

            robbery.  Much of the evidence used in the two trials was the

            same.   In  a habeas  corpus proceeding,  the district  court

            ruled that  the second  prosecution violated  double jeopardy

            principles  and ordered Rossetti released without possibility

            of  retrial. The Commonwealth  now appeals.   For the reasons

            that follow, we modify the district court's judgment.

                                         I. 

                 The  charges against  Rossetti  arose out  of the  armed

            robbery of  a Brink's armored  truck in the parking  lot of a

            bank  in the Jamaica Plain  section of Boston  on December 4,

            1980.   A Brink's guard had  just removed a sack  filled with

            $150,000  in cash from the  truck and was  carrying it toward

            the bank  entrance  when  he was  approached  by  three  men,

            possibly masked.   One of the  men asked  for the money;  and

            another leveled  a shotgun  at the  guard.   Ultimately,  the

            three  jumped into a car and drove  off, taking the money and

            the guard's pistol.

                 In both  trials, the  prosecution built its  case around

            the  testimony of Joseph Smith,  who testified that  he was a

            fourth participant  in the  December 4  robbery who  had been

            waiting  in a second car  to assist if  necessary by blocking

            pursuers.   His  testimony was  crucial to  the prosecution's



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            case.    Although there  was ample  evidence of  the robbery,

            neither  the Brink's  guards nor  anyone else  could identify

            Rossetti as one of the perpetrators.   Nor was there any eye-

            witness  evidence,  other than  Smith's  testimony, to  prove

            Rossetti's  participation  in  the conspiracy  to  commit the

            robbery. 

                 Smith  was not an ideal  witness.  He  had been arrested

            four  days after the  Brink's robbery  on a  warrant charging

            escape from  the Deer  Island House  of  Correction; he  then

            offered the government information about the Brink's job.  In

            exchange, the Commonwealth promised  Smith parole on his Deer

            Island sentence, immunity from prosecution for escape, and no

            jail  time for his role in the  Brink's robbery.  He was also

            promised a plane ticket to anywhere in the United States, the

            restoration of his Massachusetts driver's license, and $1,500

            in cash.  

                 In  the first trial  (Rossetti I),  which took  place in
                                       __________

            June 1981,  Rossetti was the  sole defendant and  was charged

            with   armed   robbery.     Under   Massachusetts   law,  the

            Commonwealth was prohibited from trying the conspiracy in the

            same trial  as the  substantive offense unless  the defendant

            moved for joinder.  Mass. R. Cr. P. 9(e).  Smith described in

            detail the course of the robbery on the morning of December 4

            and  Rossetti's participation in it.   He also described more

            briefly the preparations for  the crime--including a visit to



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            the bank  on Thanksgiving  Day, the final  planning sessions,

            and the theft of  cars on December 3--and Rossetti's  role in

            those preparations.

                 The Commonwealth also  presented physical evidence  that

            the  police  had  recovered from  Rossetti's  home, including

            hidden cash  with serial numbers corresponding  to the stolen

            money.  The police  had also found  a key in Rossetti's  room

            that led them to  a locker located in  another building.   In

            the locker,  police discovered  clothing and weapons  tied to

            the  robbery,  including the  Brink's  guard's  pistol and  a

            sawed-off shotgun, which were also offered at trial.

                 Rossetti vigorously attacked Smith on cross-examination,

            and also offered police testimony that Smith had taken a much

            more  active  role  in  the robbery  than  he  had  admitted.

            Through  testimony  from  his  mother   and  his  girlfriend,

            Rossetti  also sought to establish  an alibi for  the time of

            the robbery (and for  Thanksgiving Day).  And to  explain the

            physical  evidence,  witnesses  testified that  Rossetti  had

            taken some items from Smith's apartment after Smith's arrest.

            The jury acquitted Rossetti of armed robbery.

                 In  the  second  trial (Rossetti  II),  Rossetti,  Louis
                                         ____________

            Royce, and Joseph Sousa were co-defendants, each charged with

            conspiracy to  commit the Brink's  robbery.  This  trial took

            place  in December  1982, and  the pattern  of the  trial was

            similar  to  Rossetti  I.    After  the  two  Brink's  guards
                         ___________



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            described  the  crime,  the  Commonwealth   called  Smith  to

            testify.  In  the first  trial, the focus  of Smith's  direct

            examination was the commission of the robbery; in Rossetti II
                                                              ___________

            Smith  described the  robbery and Rossetti's  role in  it but

            also  dwelt at length on several meetings Smith had held with

            Rossetti and other conspirators prior to December 4.

                 Again,  Smith was  vigorously attacked,  both on  cross-

            examination  and  by impeaching  testimony.    Rossetti again

            offered alibi evidence  for the  date of the  crime.   Again,

            witnesses  testified  that Rossetti  had  taken incriminating

            items  from Smith's  apartment.   All  three defendants  were

            convicted  of  conspiracy.   The  convictions  were affirmed,

            Commonwealth v.  Royce, 479 N.E.2d 198  (Mass. App.), further
            ____________     _____                                _______

            rev.  denied, 482  N.E.2d  328, 484  N.E.2d  102 (1985),  and
            ____________

            Rossetti's request for post-conviction relief  in state court

            was denied.

                 In September 1990, Rossetti  filed in the district court

            for habeas corpus relief.   The district court held  that the

            second prosecution  was barred by the  double jeopardy clause

            as construed  in  Ashe  v.  Swenson,  397  U.S.  436  (1970).
                              ____      _______

            Rossetti v. Curran, 891 F. Supp.  36 (D. Mass. 1995).  In the
            ________    ______

            alternative, the district court held that, even if the second

            prosecution had  been proper,  the state court  had committed

            constitutional  error  by  admitting evidence  of  Rossetti's

            participation in the  robbery of which he had been previously



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            acquitted.    The court  granted  the writ  of  habeas corpus

            without the possibility of retrial.

                                         II.

                 The district court's legal rulings are reviewed de novo,
                                                                 _______

            United  States  v. Aguilar-Aranceta,  957  F.2d  18, 21  (1st
            ______________     ________________

            Cir.), cert.  denied, 506 U.S.  834 (1992),  and we  consider
                   _____________

            first the district court's ruling that the second prosecution

            was barred entirely under Ashe v. Swensen.   The Commonwealth
                                      ____    _______

            suggests that Rossetti's claim on this issue was not properly

            presented in state  court and  was thus lost,  see Picard  v.
                                                           ___ ______

            Connor,  404 U.S.  270, 275-76  (1971), but  in our  view the
            ______

            issue was  adequately raised  and preserved.   See  Scarpa v.
                                                           ___  ______

            Dubois, 38  F.3d 1, 6 (1st  Cir. 1994), cert.  denied, 115 S.
            ______                                  _____________

            Ct. 940 (1995).

                 The Fifth Amendment, held to apply to the states through

            the  Fourteenth Amendment,  provides in  part that  no person

            shall "be subject  for the same  offense to  be twice put  in

            jeopardy of life or limb."  Benton v. Maryland, 395 U.S.  784
                                        ______    ________

            (1969).   A layman might  think that Rossetti  had been twice

            prosecuted  for the same criminal venture.  But armed robbery

            and conspiracy to commit armed robbery are separately defined

            crimes under  Massachusetts law and each  requires an element

            that  the  other  does  not.   Accordingly,  under  governing

            Supreme  Court  precedent,  they  are  separate  offenses for

            double jeopardy purposes.   Blockburger v. United States, 284
                                        ___________    _____________



                                         -6-
                                         -6-















            U.S. 299 (1932).  Rossetti does not suggest otherwise.

                 But the  Supreme  Court has  broadened  double  jeopardy

            protection by  incorporating into  the clause the  concept of

            collateral estoppel, so that "when an issue of ultimate  fact

            has  once been determined by a valid and final judgment, that

            issue  cannot again be litigated between  the same parties in

            any  future lawsuit."  Ashe v. Swenson,  397 U.S. at 443.  In
                                   ____    _______

            this  case, the district  court invoked  Ashe v.  Swenson and
                                                     ____     _______

            reasoned that, in light  of the evidence and instructions  in

            the  armed robbery  trial, the  jury in  the first  trial had

            necessarily determined  that Rossetti  had  not conspired  to
                                                            _________

            commit the armed robbery.

                 Of course,  conspiracy was not the crime  charged in the

            first  case, so  the  acquittal on  armed  robbery does  not,

            standing alone tell us  what, if anything, the jury  found as

            to  conspiracy.  And under  settled precedent, the burden was

            upon Rossetti to  show that the  jury had  in the first  case

            decided  the conspiracy  issue and  decided it  in Rossetti's

            favor.  Aguilar-Aranceta,  957 F.2d  at 23.   In making  this
                    ________________

            assessment, the  district court  quite properly  examined the

            evidence and instructions.  Id. at 23.
                                        ___

                 The district court reasoned that the jury at Rossetti  I
                                                              ___________

            was presented  with a  stark choice:   either  accept Smith's

            testimony in its entirety, or conclude that he was a liar and

            reject it all.  The jury had obviously rejected Smith's claim



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            that Rossetti had participated in the  robbery.  In rejecting

            Smith's claim,  the district  court concluded, the  jury also

            rejected his  briefer account of  Rossetti's participation in

            the  conspiracy to commit the crime.  In the district court's

            view,  the  first  trial  therefore  resolved  the  issue  of

            Rossetti's participationin the conspiracy inRossetti's favor.

                 We  do not share the  district court's assurance that in

            acquitting Rossetti of armed robbery  the jury in Rossetti  I
                                                              ___________

            rejected the proposition that Rossetti had conspired with the

            perpetrators of the robbery.   "The heart of a  conspiracy is

            the formation  of [an]  unlawful  agreement or  combination."

            Commonwealth  v. Pero, 524 N.E.2d 63, 65 (Mass. 1988). If the
            ____________     ____

            jury accepted Rossetti's alibi  for the day of the  crime, it

            could  easily have  acquitted  him of  armed robbery  without

            deciding whether Rossetti had agreed at some earlier  time to

            play some role in the robbery.

                 Rossetti's mother and his girlfriend each testified that

            he  was with  them  at the  time  of the  robbery.   And  the

            girlfriend  provided  an  exculpatory explanation  as  to how

            Rossetti  came later to possess the money associated with the

            robbery;  his possession of the  key to the  locker where the

            weapons  were stored  was  never directly  explained.   Given

            Smith's weakness  as a witness,  the alibi could  easily have

            supplied reasonable doubt, and the alibi did not preclude the

            possibility that Rossetti had conspired beforehand.



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                 The  district court's  conclusion rested  secondarily on

            the criminal joint  venture instruction given to the  jury in

            the   first  trial.      The  joint   venture  theory   under

            Massachusetts law is designed to make "an active participant"

            in  a crime,  Commonwealth v.  Stewart, 582  N.E.2d 514,  519
                          ____________     _______

            (Mass.  1991), liable  for  the crime  even  if his  role  is

            limited to his presence coupled with an intent to aid in  the

            crime if  necessary.  Commonwealth v.  Cunningham, 543 N.E.2d
                                  ____________     __________

            12,  15 (Mass. 1989).   But  the charge  given in  this case,

            which  we reprint in an  appendix, was more  muddled than the

            standard formulation.

                 Under the charge  as given, the jury  might have thought

            that it should convict Rossetti of armed robbery if he merely

            conspired in  planning the robbery  or it might  instead have
                                                __

            thought that it could not convict unless Rossetti was present

            at   the   robbery   and   ready   to   provide   assistance.

            Unfortunately for  Rossetti, the latter  interpretation is at

            least  as  likely as  the former;  there  is language  in the

            charge  pointing  both ways.    Thus, the  jury's  verdict of

            acquittal does  not necessarily, or even  probably, reflect a

            finding that Rossetti was innocent of conspiracy.  

                                         III.

                 The  district  court  held,  in  the  alternative,  that

            Rossetti was entitled to a  new trial.  The acquittal  in the

            first trial, the district  court reasoned, established at the



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            very  least that Rossetti had  not been engaged  in the armed

            robbery itself  (or more precisely, found  a reasonable doubt

            on  this point).   Yet,  in the  second trial  the prosecutor

            again   offered   Smith's   testimony   that   Rossetti   had

            participated in the robbery  itself, inviting the second jury

            to contradict the first.

                 For more than a decade after Ashe v. Swenson, this offer
                                              ____    _______

            of  evidence  by the  prosecutor--inviting  the  jury in  the

            second trial  to find that  Rossetti had participated  in the

            armed  robbery--would  clearly have  offended  the collateral

            estoppel branch  of double  jeopardy doctrine.   E.g., United
                                                             ____  ______

            States  v. Gonzalez-Sanchez,  825 F.2d  572 (1st  Cir. 1987).
            ______     ________________

            True,  the  purpose  was  to  help  the  prosecutor  prove  a

            different offense not foreclosed  by the first verdict, i.e.,
                                                                    ____

            that Rossetti had conspired to commit armed robbery.  But the

            evidence  of  his  participation  in the  robbery  was  still

            designed to prove the very  conduct (armed robbery) of  which

            the first jury had acquitted Rossetti.

                 Two  decades after  Ashe v.  Swenson, the  Supreme Court
                                     ____     _______

            decided  Dowling  v.  United  States, 493  U.S.  342  (1990).
                     _______      ______________

            There, the  federal government  prosecuted Dowling  for armed

            bank robbery;  and because the bank robbers  had been masked,

            the  prosecutor--as  identification  evidence  under  Fed. R.

            Evid. 404--offered  proof that Dowling,  similarly masked and

            armed, had sought  to rob a private home two  weeks later and



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            had  been  unmasked  and identified  in  the  struggle.   The

            prosecutor's  problem  was that  prior  to  the bank  robbery

            trial,  Dowling had  been tried  and acquitted  of the  house

            robbery.

                 In Dowling, as in this case, the defense argued that the
                    _______

            use  in  the second  trial  of  "acquitted conduct"  evidence

            violated the  collateral estoppel branch of  double jeopardy.

            The  Supreme  Court  rejected  the  claim,  pointing  to  the

            difference in the burden of  proof.  In the first trial,  the

            jury  had found that the  government had failed  to prove the

            house  robbery  beyond a  reasonable  doubt;  in the  second,

            Dowling's presence in the house merely needed to be proved as

            a  likelihood in  order to  help the  government in  the bank

            robbery case.  Id. at 348-49.
                           ___

                 If the  reasoning of Dowling is  applied mechanically to
                                      _______

            our  own case, the Commonwealth  was arguably free--so far as

            federal constitutional  law is concerned--to  offer the  bank

            robbery evidence in Rossetti  II.  No intermediate fact  need
                                ____________

            be proved beyond  a reasonable  doubt, so long  as the  crime

            itself  is proved beyond a  reasonable doubt.   New Jersey v.
                                                            __________

            T.L.O., 469 U.S. 325, 345 (1985); In re Winship, 397 U.S. 358
            ______                            _____________

            (1970); Fed. R.  Evid. 401.   It was enough  for the jury  in

            Rossetti  II to conclude that it was likely that Rossetti had
            ____________

            participated in the armed robbery.

                 If the jury found  that Rossetti had likely participated



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            in the  bank robbery, this  could then have been  used by the

            jury, together with other evidence, to prove Rossetti's guilt

            on the conspiracy charge  beyond a reasonable doubt.   A jury

            could  convict  without the  robbery  evidence:   Smith  gave

            direct  testimony  in  the  second trial  that  Rossetti  had

            conspired;  and  the  prosecutor  proved  that  proceeds  and

            implements of the robbery had been linked with Rossetti.  But

            if  the   jury  also   believed  that  Rossetti   had  likely
                            ____

            participated in  the robbery, guilt on  the conspiracy charge

            could be found even more readily.

                 The  district court took  note of Dowling  and sought to
                                                   _______

            distinguish it,  pointing out that in  Dowling's bank robbery

            trial, the "other crime"  evidence, offered under Rule 404(b)

            to  establish  identity,  related to  an  entirely  different

            criminal transaction, i.e., the housebreaking.   The district
                                  ____

            court continued:

                 While the offenses in Dowling occurred at different
                                       _______
                 times,  with  different  victims and  to  a  degree
                 different participants, the  offenses at issue here
                 involved  the same participants,  the same offense,
                 and followed a day later.  Surely the admissibility
                 of  acquitted  conduct  in  this  case  necessarily
                 raises   issues  of  fairness   and  dimensions  of
                 prejudice which the [Supreme] Court in Dowling  was
                                                        _______
                 not obliged to consider.

            891 F. Supp. at 47.  

                 Perhaps so.  From a classic  double-jeopardy standpoint,

            it may seem especially "unfair" to retry the  defendant after

            acquittal  where  the two  crimes relate  to  the one  set of



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            events.   But to distinguish Dowling on this ground is simply
                                         _______

            to  quarrel  with  Blockburger's  test  of  when  two  crimes
                               ___________

            comprise  different offenses.   It  would be  easy enough  to

            quarrel; in fact, the  Supreme Court for a brief  period came

            closer to using a  same-transaction test for double jeopardy,

            see Grady v. Corbin, 495 U.S. 508 (1990), overruled by United
            ___ _____    ______                       ____________ ______

            States v. Dixon,  113 S.  Ct. 2849 (1993).   But  Blockburger
            ______    _____                                   ___________

            binds us all.

                 As for  "prejudice," the  inference of guilt  drawn from

            the acquitted conduct may  be more weighty in this  case than

            in Dowling precisely because of the close relationship of the
               _______

            two crimes.  Yet, that could easily be offered as an argument

            for  admissibility here.   Cf. Fed.  R. Evid.  403 (balancing
            ___                        ___

            probative  value against  relevance).   Plainly  it would  be

            highly  probative in  a  conspiracy trial  to  show that  the

            defendant  accused  of  planning  a  crime  with  others  had

            probably carried  out  the very  crime alleged  to have  been

            planned.  

                 Further, in one important respect, there is less risk of

            unfair  prejudice in this case than in Dowling.  The ordinary
            ______                                 _______

            threat  of unfair prejudice in a Rule 404(b) case is that the

            jury  will infer  that  because the  defendant has  committed

            other bad  acts, he has  a "bad character"  and is  likely to

            have  acted   in  conformity  therewith.     This  inference,

            forbidden by Rule  404(a), is largely  submerged by the  more



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            obvious and permissible inference that  because the defendant
                        ___________

            participated  in  the  crime  that  was  the  object  of  the

            conspiracy, he was guilty of the conspiracy as well.1  

                 And  yet  the  Commonwealth   has  made  none  of  these

            arguments, assuming  instead that  while it  was free  to try

            Rossetti for conspiracy, the  prosecutor's use of evidence of

            Rossetti's participation  in the armed robbery  was forbidden

            by  Ashe  v.  Swenson.    Why  the   Commonwealth  made  this
                ____      _______

            concession   is  unclear:   its   brief  cites   only  to   a

            Massachusetts case which  relied on Ashe  v. Swenson but  was
                                                ____     _______

            decided  prior to  Dowling.   Possibly, the  Commonwealth was
                               _______

            persuaded  by the  district court's  distinction  of Dowling;
                                                                 _______

            alternatively,  it  may  have   placed  undue  faith  in  its

            argument--rejected by  the district court but  renewed by the

            Commonwealth  here--that  the   armed  robbery  evidence  was

            harmless error.  In  all events, we hold the  Commonwealth to

            its waiver.

                 Although  very  doubtful   about  the  district  court's

            attempted distinction of Dowling,  we are inclined to reserve
                                     _______


                                
            ____________________

                 1The district court  thus erred in saying that the armed
            robbery evidence in this case  "violated the express terms of
            Rule 404(b)," even if we ignore the fact that Rule 404(b) did
            not govern the  Massachusetts courts.   Subject to Rule  403,
            evidence of a second crime transactionally related to charged
            crime  is  admissible when,  as here,  it  is "so  blended or
            connected  with the  one  on  trial  as  that  proof  of  one
            incidentally involves the other."   United States v. Dworken,
                                                _____________    _______
            855 F.2d  12,  27 (1st  Cir.  1988) (emphasis  and  citations
            removed).

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                                         -14-















            the  issue for  a case  in which  the prosecution  chooses to

            litigate the point.   Just how the Supreme Court  would apply

            Dowling  in a  slightly different  context is  a matter  that
            _______

            could  at  least  be  debated.  Given  our  rejection  of the

            district  court's main  ruling, the  Commonwealth is  free to

            retry Rossetti if it desires, so there certainly is no threat

            to public safety.  In fact, we were told that Rossetti was on

            parole when his habeas petition was granted.

                 Finally, something, but not much, needs to be said about

            the   Commonwealth's  harmless   error  defense.     Assuming

            dubitante that  the armed  robbery evidence was  precluded in
            _________

            the second  trial, that  "error" was  not harmless  under the

            standard test.  Brecht  v. Abrahamson, 113 S. Ct.  1710, 1722
                            ______     __________

            (1993)  (error is  harmless  if it  has  no "substantial  and

            injurious  effect  or  influence  in determining  the  jury's

            verdict").  O'Neal v.  McAninch, 115 S. Ct. 992,  995 (1995).
                        ______     ________

            This is so even though we agree  with the government that the

            other   evidence  of  conspiracy  (Smith's  testimony  as  to

            conspiracy  and the  real evidence)  is impressive,  if taken

            most favorably to the government.

                 But in appraising harmless error, we do not look only at

            the  government's best case but  rather at the  evidence as a

            whole.   United States  v. Innamorati,  996 F.2d  456, 475-76
                     _____________     __________

            (1st Cir.), cert. denied, 114 S. Ct. 409 &amp; 459 (1993).  Smith
                        ____________

            was   a  witness  that  the   jury  could  easily  choose  to



                                         -15-
                                         -15-















            disbelieve.  And  Rossetti's possession of  some of the  real

            evidence  was  explained, although  a  jury  might think  the

            explanation  far-fetched  and  it was  certainly  incomplete.

            Smith's  detailed evidence of Rossetti's actual participation

            in the robbery itself could easily have altered the outcome.

                 The  judgment  of  the  district court  is  modified  to
                                                             ________

            provide for issuance  of the writ unless, within a reasonable

            time to be determined by the district court, the Commonwealth

            chooses to  retry Rossetti on  the charge of  conspiracy, and

            the matter is remanded to the district court for the entry of
                          ________

            a modified judgment.

                 It is so ordered.
                 ________________
































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                                       APPENDIX



            The charge, in relevant part, read as follows:

                 Under our law and as a general rule, if two or more
                 persons engage in  a joint criminal undertaking  in
                 furtherance of its object each  is the agent of the
                 other in all matters  relating to the common object
                 of  the enterprise and the acts of one are the acts
                 of all.    To be  engaged  in a  joint  enterprise,
                 however, a person must  actively participate in it.
                 Merely being  present at the  time when a  crime is
                 committed is not sufficient even though a defendant
                 may have had knowledge that the crime was going  to
                 be committed and did absolutely nothing  to prevent
                 it.   What must be proved is that the defendant who
                 is  charged on  the theory  of joint  enterprise in
                 some way associated himself  with the venture; that
                 is, he participated in it as something he wished to
                 bring   about   as   an   active   participant   as
                 distinguished from merely being  present or at  the
                 scene  when some other  person committed a criminal
                 act.  

                 On the other hand, a person may be a participant in
                 the commission of  a crime without  having actually
                 performed  any physical  act at  the time  when the
                 crime  was  committed.   If  the  defendant who  is
                 charged  under the theory  of joint  enterprise has
                 put himself in a position  or location where he can
                 render   assistance   or   encouragement   in   the
                 commission of the crime, then, and once again, as a
                 general rule  he can be found guilty even though he
                 did not commit the criminal act or made no physical
                 contribution to  the execution of the criminal act.


                 In order, therefore, to find this defendant  guilty
                 of  the crime  of robbery,  you must  be satisfied,
                 first  of all,  beyond a  reasonable doubt  that he
                 participated with others in this  armed robbery and
                 not that he was merely present at the time but that
                 in some  active way he associated  himself with the
                 crime before it was committed and  put himself in a
                 position or  location where he might  aid or assist
                 those  persons in the commission of the crime.  You
                 must  be satisfied that this defendant combined and
                 confederated   in  advance   with  the   others  to
                 accomplish an illegal purpose.











